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FY2025 NDAA: TRICARE Coverage of
Gender-Affirming Care

Updated January 10, 2025

Background
The Department of Defense (DOD) administers a statutory health entitlement (under Title 10, Chapter 55,
of the U.S. Code), through the Military Health System (MHS). The MHS offers health care benefits and
services through its TRICARE program to approximately 9.5 million beneficiaries composed of
servicemembers, military retirees, and dependent family members. Congress often specifies certain
TRICARE coverage parameters (e.g., how health care services may be delivered, and whether
beneficiaries may be subject to cost-sharing requirements) through an annual National Defense
Authorization Act (NDAA).
During deliberations on an FY2025 NDAA, some Members of Congress expressed interest in TRICARE
coverage policies for gender-affirming care. Defense Health Agency (DHA) Procedural Instruction
6025.21 defines gender-affirming care as “clinical services that support an individual’s physical and
[behavioral health] as they define, explore, and align with their gender identity.” Gender-affirming care
includes nonsurgical care (e.g., hormone therapy and psychotherapy) and surgical care (e.g., gender-
affirming surgery).
The TRICARE Policy Manual stipulates that “medically or psychologically necessary and appropriate
medical care (as defined in 32 C.F.R. §199.2), including nonsurgical treatments for [gender dysphoria],
are covered [for all beneficiaries] when provided by a TRICARE-authorized provider.” The TRICARE
Policy Manual also clarifies that hormone therapy is a covered service for an adult or adolescent
beneficiary diagnosed with gender dysphoria and who meets the eligibility criteria outlined in the
Endocrine Society’s clinical practice guideline for treatment of gender dysphoria. Under 10 U.S.C.
§1079(a)(11), TRICARE is explicitly prohibited from covering gender-affirming surgical care for
beneficiaries except to treat individuals with an intersex condition due to congenital malformations or
chromosomal abnormalities.
This statutory prohibition applies only to health care services covered by the TRICARE program for
beneficiaries; DOD may pay for gender-affirming surgical care through the Supplemental Health Care
Program (SHCP) for “active duty members of the uniformed services.” DOD uses its authority under 10

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U.S.C. §1074(c) to administer SHCP. Title 32, Part 199.6, of the Code of Federal Regulations, Health
Affairs (HA) Policy 12-002, and the TRICARE Operations Manual describe SHCP requirements and
procedures. HA Policy 12-002 stipulates that SHCP “provides an avenue to lawfully cover otherwise non-
covered services for Service members in circumstances that will enable them to return to full
duty/worldwide deployable status, or to reach their maximum rehabilitative potential.” Examples of
noncovered services include certain emerging medical therapies and services, fertility services, and
unique rehabilitative services.
DHA policy and supplemental guidance outline the process for providing gender-affirming surgical care
to an active duty servicemember diagnosed with gender dysphoria, which includes requirements for the
servicemember to obtain endorsements from their respective transgender care team and their chain of
command prior to being authorized care.
Table 1 lists the proposed or enacted gender-affirming care-related provisions included in the House-
passed (H.R. 8070, 118th Congress), Senate Armed Services Committee (SASC)-reported (S. 4638, 118th
Congress), or enacted (P.L. 118-159) versions of the FY2025 NDAA.

                                 Table 1. FY2025 NDAA Legislative Proposals
                                          Senate Armed Services
                                          Committee-reported
 House-passed H.R. 8070                   S. 4638                                     Enacted P.L. 118-159

 Section 579C would have prohibited       No similar provision.                       Not enacted.
 an Exceptional Family Member
 Program from providing “gender
 transition procedures” or providing
 referrals for “gender transition
 services” to a minor dependent child.
 The provision would also prohibit the
 approval of a change of duty station
 due to a minor dependent child having
 a lack of access to gender transition
 services.
 Section 713 would have amended Title     Section 708 would have amended Title        Not enacted.
 10, Chapter 55, of the U.S. Code to      10, Chapter 55, of the U.S. Code to
 prohibit DOD from providing or           prohibit the use of DOD funds for
 paying for gender-affirming surgical     performing or facilitating “sex change
 care and hormone therapy for all         surgeries.”
 beneficiaries.
                                          Section 709 would have amended 10           Section 708 adopts the Senate
                                          U.S.C. §1079(a) to prohibit TRICARE         provision with an amendment to
                                          coverage of gender-affirming hormone        prohibit TRICARE coverage of
                                          therapy “that could result in               “medical interventions for the
                                          sterilization” for beneficiaries under 18   treatment of gender dysphoria that
                                          years of age.                               could result in sterilization” for
                                                                                      beneficiaries under 18 years of age.

    Source: CRS analysis of legislation on Congress.gov.


Discussion
Between January 1, 2016, and May 14, 2021, DOD reportedly spent approximately $15 million to provide
gender-affirming care (surgical and nonsurgical care) to 1,892 active duty servicemembers. DOD has not
publicly reported any cost or utilization data of gender-affirming care for nonactive duty beneficiaries.
Some studies have described utilization rates of TRICARE-covered gender-affirming care for certain
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nonactive duty beneficiaries. For example, a 2019 study stated that “between October 2009 and April
2017, 2,533 youth received” gender-affirming care through the MHS. Of those, 834 individuals received
gender-affirming prescriptions (e.g., pubertal suppression or hormone therapy).
Congress continues to debate whether federal health programs, including TRICARE, should cover
gender-affirming care and related support services for servicemembers and their dependents. Some
observers argue that federal taxpayer funds should not be used to pay for gender-affirming care that they
perceive as “costly and controversial” and that such care could affect a servicemember’s ability to be
“combat-ready” or “deployable.” Other observers argue that there is a “growing consensus” among
medical experts that gender-affirming care is medically necessary and that health payers should ensure
coverage of these services.
Section 708 of the FY2025 NDAA adopts Senate Section 709 with an amendment that revises 10 U.S.C.
§1079(a) to prohibit TRICARE from covering “medical interventions for the treatment of gender
dysphoria that could result in sterilization” for beneficiaries under 18 years of age. It remains to be seen
how DOD is to implement this statutory change. Implementation may include changes to Title 32, Part
199, of the Code of Federal Regulations and revisions to the TRICARE Policy Manual.
The FY2025 NDAA did not include Section 713 of H.R. 8070, which would have amended Title 10,
Chapter 55, of the U.S. Code by adding a new section that prohibits DOD from providing or paying for
gender-affirming surgical care and hormone treatment used to treat gender dysphoria under TRICARE
and SHCP. The FY2025 NDAA did not include Senate Section 708, which would have amended Title 10,
Chapter 55, of the U.S. Code by adding a new section that prohibits the use of DOD funds for performing
or facilitating “sex change surgeries.”
In certain instances, a dependent family member diagnosed with a “current and chronic” mental health
condition requiring “inpatient or intensive (i.e., greater than one visit monthly for more than 6 months)
outpatient mental health service” may access coordination and support services through the Exceptional
Family Member Program (EFMP). Dependent family members diagnosed with gender dysphoria as a
mental health condition, per the Diagnostic and Statistical Manual of Mental Disorders (DSM-V)
definition, may be eligible to enroll in EFMP.
DOD policy also allows EFMP-enrolled servicemembers to request a reassignment to another duty station
before meeting the minimum time-on-station requirement, and to be afforded certain housing flexibilities
during their relocation to another duty station. The FY2025 NDAA did not include House Section 579C,
which would have prohibited the provision of, or referral for gender transition services through an EFMP.
The provision would have also prohibited the military services from approving a servicemember’s request
for early reassignment to another duty station due to lack of access to gender transition services for a
minor dependent child.




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